Case: 1:16-cv-11086 Document #: 199-1
                                201-1 Filed: 07/31/20
                                             08/04/20 Page 8
                                                           1 of 73
                                                                66 PageID #:1311
                                                                          #:1412




 ATTACHMENT 1
Case: 1:16-cv-11086 Document #: 199-1
                                201-1 Filed: 07/31/20
                                             08/04/20 Page 9
                                                           2 of 73
                                                                66 PageID #:1312
                                                                          #:1413
Case:
Case:1:16-cv-11086
      1:16-cv-11086Document
                   Document#:
                            #:199-1
                               201-1Filed:
                                    Filed:07/31/20
                                           08/04/20Page
                                                   Page10 of66
                                                        3 of 73PageID
                                                               PageID#:1414
                                                                      #:1313
Case:
Case:1:16-cv-11086
      1:16-cv-11086Document
                   Document#:
                            #:199-1
                               201-1Filed:
                                    Filed:07/31/20
                                           08/04/20Page
                                                   Page11 of66
                                                        4 of 73PageID
                                                               PageID#:1415
                                                                      #:1314
Case:
Case:1:16-cv-11086
      1:16-cv-11086Document
                   Document#:
                            #:199-1
                               201-1Filed:
                                    Filed:07/31/20
                                           08/04/20Page
                                                   Page12 of66
                                                        5 of 73PageID
                                                               PageID#:1416
                                                                      #:1315
Case:
Case:1:16-cv-11086
      1:16-cv-11086Document
                   Document#:
                            #:199-1
                               201-1Filed:
                                    Filed:07/31/20
                                           08/04/20Page
                                                   Page13 of66
                                                        6 of 73PageID
                                                               PageID#:1417
                                                                      #:1316
Case:
Case:1:16-cv-11086
      1:16-cv-11086Document
                   Document#:
                            #:199-1
                               201-1Filed:
                                    Filed:07/31/20
                                           08/04/20Page
                                                   Page14 of66
                                                        7 of 73PageID
                                                               PageID#:1418
                                                                      #:1317
Case:
Case:1:16-cv-11086
      1:16-cv-11086Document
                   Document#:
                            #:199-1
                               201-1Filed:
                                    Filed:07/31/20
                                           08/04/20Page
                                                   Page15 of66
                                                        8 of 73PageID
                                                               PageID#:1419
                                                                      #:1318
Case:
Case:1:16-cv-11086
      1:16-cv-11086Document
                   Document#:
                            #:199-1
                               201-1Filed:
                                    Filed:07/31/20
                                           08/04/20Page
                                                   Page16 of66
                                                        9 of 73PageID
                                                               PageID#:1420
                                                                      #:1319
Case: 1:16-cv-11086 Document #: 199-1
                                201-1 Filed: 07/31/20
                                             08/04/20 Page 17
                                                           10 of 73
                                                                 66 PageID #:1320
                                                                           #:1421
Case: 1:16-cv-11086 Document #: 199-1
                                201-1 Filed: 07/31/20
                                             08/04/20 Page 18
                                                           11 of 73
                                                                 66 PageID #:1321
                                                                           #:1422
Case: 1:16-cv-11086 Document #: 199-1
                                201-1 Filed: 07/31/20
                                             08/04/20 Page 19
                                                           12 of 73
                                                                 66 PageID #:1322
                                                                           #:1423
Case: 1:16-cv-11086 Document #: 199-1
                                201-1 Filed: 07/31/20
                                             08/04/20 Page 20
                                                           13 of 73
                                                                 66 PageID #:1323
                                                                           #:1424
Case: 1:16-cv-11086 Document #: 199-1
                                201-1 Filed: 07/31/20
                                             08/04/20 Page 21
                                                           14 of 73
                                                                 66 PageID #:1324
                                                                           #:1425
Case: 1:16-cv-11086 Document #: 199-1
                                201-1 Filed: 07/31/20
                                             08/04/20 Page 22
                                                           15 of 73
                                                                 66 PageID #:1325
                                                                           #:1426
Case: 1:16-cv-11086 Document #: 199-1
                                201-1 Filed: 07/31/20
                                             08/04/20 Page 23
                                                           16 of 73
                                                                 66 PageID #:1326
                                                                           #:1427
Case: 1:16-cv-11086 Document #: 199-1
                                201-1 Filed: 07/31/20
                                             08/04/20 Page 24
                                                           17 of 73
                                                                 66 PageID #:1327
                                                                           #:1428
Case: 1:16-cv-11086 Document #: 199-1
                                201-1 Filed: 07/31/20
                                             08/04/20 Page 25
                                                           18 of 73
                                                                 66 PageID #:1328
                                                                           #:1429
Case: 1:16-cv-11086 Document #: 199-1
                                201-1 Filed: 07/31/20
                                             08/04/20 Page 26
                                                           19 of 73
                                                                 66 PageID #:1329
                                                                           #:1430
Case: 1:16-cv-11086 Document #: 199-1
                                201-1 Filed: 07/31/20
                                             08/04/20 Page 27
                                                           20 of 73
                                                                 66 PageID #:1330
                                                                           #:1431
Case: 1:16-cv-11086 Document #: 199-1
                                201-1 Filed: 07/31/20
                                             08/04/20 Page 28
                                                           21 of 73
                                                                 66 PageID #:1331
                                                                           #:1432
Case: 1:16-cv-11086 Document #: 199-1
                                201-1 Filed: 07/31/20
                                             08/04/20 Page 29
                                                           22 of 73
                                                                 66 PageID #:1332
                                                                           #:1433
Case: 1:16-cv-11086 Document #: 199-1
                                201-1 Filed: 07/31/20
                                             08/04/20 Page 30
                                                           23 of 73
                                                                 66 PageID #:1333
                                                                           #:1434
Case: 1:16-cv-11086 Document #: 199-1
                                201-1 Filed: 07/31/20
                                             08/04/20 Page 31
                                                           24 of 73
                                                                 66 PageID #:1334
                                                                           #:1435
Case: 1:16-cv-11086 Document #: 199-1
                                201-1 Filed: 07/31/20
                                             08/04/20 Page 32
                                                           25 of 73
                                                                 66 PageID #:1335
                                                                           #:1436
Case: 1:16-cv-11086 Document #: 199-1
                                201-1 Filed: 07/31/20
                                             08/04/20 Page 33
                                                           26 of 73
                                                                 66 PageID #:1336
                                                                           #:1437
Case: 1:16-cv-11086 Document #: 199-1
                                201-1 Filed: 07/31/20
                                             08/04/20 Page 34
                                                           27 of 73
                                                                 66 PageID #:1337
                                                                           #:1438
Case: 1:16-cv-11086 Document #: 199-1
                                201-1 Filed: 07/31/20
                                             08/04/20 Page 35
                                                           28 of 73
                                                                 66 PageID #:1338
                                                                           #:1439
Case: 1:16-cv-11086 Document #: 199-1
                                201-1 Filed: 07/31/20
                                             08/04/20 Page 36
                                                           29 of 73
                                                                 66 PageID #:1339
                                                                           #:1440
Case: 1:16-cv-11086 Document #: 199-1
                                201-1 Filed: 07/31/20
                                             08/04/20 Page 37
                                                           30 of 73
                                                                 66 PageID #:1340
                                                                           #:1441
Case: 1:16-cv-11086 Document #: 199-1
                                201-1 Filed: 07/31/20
                                             08/04/20 Page 38
                                                           31 of 73
                                                                 66 PageID #:1341
                                                                           #:1442
Case: 1:16-cv-11086 Document #: 199-1
                                201-1 Filed: 07/31/20
                                             08/04/20 Page 39
                                                           32 of 73
                                                                 66 PageID #:1342
                                                                           #:1443
Case: 1:16-cv-11086 Document #: 199-1
                                201-1 Filed: 07/31/20
                                             08/04/20 Page 40
                                                           33 of 73
                                                                 66 PageID #:1343
                                                                           #:1444
Case: 1:16-cv-11086 Document #: 199-1
                                201-1 Filed: 07/31/20
                                             08/04/20 Page 41
                                                           34 of 73
                                                                 66 PageID #:1344
                                                                           #:1445
Case: 1:16-cv-11086 Document #: 199-1
                                201-1 Filed: 07/31/20
                                             08/04/20 Page 42
                                                           35 of 73
                                                                 66 PageID #:1345
                                                                           #:1446
Case: 1:16-cv-11086 Document #: 199-1
                                201-1 Filed: 07/31/20
                                             08/04/20 Page 43
                                                           36 of 73
                                                                 66 PageID #:1346
                                                                           #:1447
Case: 1:16-cv-11086 Document #: 199-1
                                201-1 Filed: 07/31/20
                                             08/04/20 Page 44
                                                           37 of 73
                                                                 66 PageID #:1347
                                                                           #:1448
Case: 1:16-cv-11086 Document #: 199-1
                                201-1 Filed: 07/31/20
                                             08/04/20 Page 45
                                                           38 of 73
                                                                 66 PageID #:1348
                                                                           #:1449
Case: 1:16-cv-11086 Document #: 199-1
                                201-1 Filed: 07/31/20
                                             08/04/20 Page 46
                                                           39 of 73
                                                                 66 PageID #:1349
                                                                           #:1450
Case: 1:16-cv-11086 Document #: 199-1
                                201-1 Filed: 07/31/20
                                             08/04/20 Page 47
                                                           40 of 73
                                                                 66 PageID #:1350
                                                                           #:1451
Case: 1:16-cv-11086 Document #: 199-1
                                201-1 Filed: 07/31/20
                                             08/04/20 Page 48
                                                           41 of 73
                                                                 66 PageID #:1351
                                                                           #:1452
Case: 1:16-cv-11086 Document #: 199-1
                                201-1 Filed: 07/31/20
                                             08/04/20 Page 49
                                                           42 of 73
                                                                 66 PageID #:1352
                                                                           #:1453
Case: 1:16-cv-11086 Document #: 199-1
                                201-1 Filed: 07/31/20
                                             08/04/20 Page 50
                                                           43 of 73
                                                                 66 PageID #:1353
                                                                           #:1454
Case: 1:16-cv-11086 Document #: 199-1
                                201-1 Filed: 07/31/20
                                             08/04/20 Page 51
                                                           44 of 73
                                                                 66 PageID #:1354
                                                                           #:1455
Case: 1:16-cv-11086 Document #: 199-1
                                201-1 Filed: 07/31/20
                                             08/04/20 Page 52
                                                           45 of 73
                                                                 66 PageID #:1355
                                                                           #:1456




 ""(*%'#"" *("* %#)$*      *

1J                             ,.0+*)'J01$) J .+2-  ''J


                                                 GJ

                                                 $FEJ

 ""(*%'#"" *("* %#)$*     '* #)"' *


         
1J                                  &+/4J.$"/0+)J'',J


                                                 GJ 
                                                                    
                                                       0LFKHOH''RXJKHUW\J
                                                       0LFKHOH''RXJKHUW\

 ""(**% * #%$*

1J     
                                 1#J0 .!'J+., J


                                                 GJ      
                                                                       H

                                                 $FEJ

 ""(**% * #%$'* #)"'!*

1J 5667896J:J                               %&0+)J'3$0J,J  J


                                                 GJ                  
                                                       &@DEF>BJJ(@AFCBJ


 ""(*%)&* '('* "*

1J                                    (.2.4J,'01$0J$) J


                                                 GJ                I

                                                 $FEJ




                                           
Case: 1:16-cv-11086 Document #: 199-1
                                201-1 Filed: 07/31/20
                                             08/04/20 Page 53
                                                           46 of 73
                                                                 66 PageID #:1356
                                                                           #:1457
Case: 1:16-cv-11086 Document #: 199-1
                                201-1 Filed: 07/31/20
                                             08/04/20 Page 54
                                                           47 of 73
                                                                 66 PageID #:1357
                                                                           #:1458
Case: 1:16-cv-11086 Document #: 199-1
                                201-1 Filed: 07/31/20
                                             08/04/20 Page 55
                                                           48 of 73
                                                                 66 PageID #:1358
                                                                           #:1459




Defendant Mercury Plastics, Inc.’s Counsel
         
DATED: ___________________                        HOLLAND & KNIGHT, LLP


                                                  By: _____________________________
                                                        _____________________
                                                                           _________
                                                                                  _
                                                         Phillip
                                                              ip Schreiber
                                                         Philli

Defendant The Penray Companies, Inc.

DATED: ___________________                        THE PENRAY COMPANIES, INC.


                                                  By: ____________________________

                                                  Its: ____________________________


Defendant The Penray Companies, Inc.’s Counsel

DATED: ___________________                        SEYFARTH SHAW, LLP


                                                  By: ____________________________
                                                        Richard Patrick McArdle

Defendant Advertising Resources, Inc.

DATED: ___________________                        ADVERTISING RESOURCES, INC.


                                                  By: ____________________________

                                                  Its: ____________________________


Defendant Advertising Resources, Inc.’s Counsel

DATED: ___________________                        SEYFARTH SHAW, LLP


                                                  By: ____________________________
                                                        Richard Patrick McArdle




                                             44
Case: 1:16-cv-11086 Document #: 199-1
                                201-1 Filed: 07/31/20
                                             08/04/20 Page 56
                                                           49 of 73
                                                                 66 PageID #:1359
                                                                           #:1460




       March 19, 2020
Case: 1:16-cv-11086 Document #: 199-1
                                201-1 Filed: 07/31/20
                                             08/04/20 Page 57
                                                           50 of 73
                                                                 66 PageID #:1360
                                                                           #:1461
Case: 1:16-cv-11086 Document #: 199-1
                                201-1 Filed: 07/31/20
                                             08/04/20 Page 58
                                                           51 of 73
                                                                 66 PageID #:1361
                                                                           #:1462
Case: 1:16-cv-11086 Document #: 199-1
                                201-1 Filed: 07/31/20
                                             08/04/20 Page 59
                                                           52 of 73
                                                                 66 PageID #:1362
                                                                           #:1463
Case: 1:16-cv-11086 Document #: 199-1
                                201-1 Filed: 07/31/20
                                             08/04/20 Page 60
                                                           53 of 73
                                                                 66 PageID #:1363
                                                                           #:1464
Case: 1:16-cv-11086 Document #: 199-1
                                201-1 Filed: 07/31/20
                                             08/04/20 Page 61
                                                           54 of 73
                                                                 66 PageID #:1364
                                                                           #:1465
Case: 1:16-cv-11086 Document #: 199-1
                                201-1 Filed: 07/31/20
                                             08/04/20 Page 62
                                                           55 of 73
                                                                 66 PageID #:1365
                                                                           #:1466
Case: 1:16-cv-11086 Document #: 199-1
                                201-1 Filed: 07/31/20
                                             08/04/20 Page 63
                                                           56 of 73
                                                                 66 PageID #:1366
                                                                           #:1467
Case: 1:16-cv-11086 Document #: 199-1
                                201-1 Filed: 07/31/20
                                             08/04/20 Page 64
                                                           57 of 73
                                                                 66 PageID #:1367
                                                                           #:1468
Case: 1:16-cv-11086 Document #: 199-1
                                201-1 Filed: 07/31/20
                                             08/04/20 Page 65
                                                           58 of 73
                                                                 66 PageID #:1368
                                                                           #:1469
Case: 1:16-cv-11086 Document #: 199-1
                                201-1 Filed: 07/31/20
                                             08/04/20 Page 66
                                                           59 of 73
                                                                 66 PageID #:1369
                                                                           #:1470
Case: 1:16-cv-11086 Document #: 199-1
                                201-1 Filed: 07/31/20
                                             08/04/20 Page 67
                                                           60 of 73
                                                                 66 PageID #:1370
                                                                           #:1471
Case: 1:16-cv-11086 Document #: 199-1
                                201-1 Filed: 07/31/20
                                             08/04/20 Page 68
                                                           61 of 73
                                                                 66 PageID #:1371
                                                                           #:1472
Case: 1:16-cv-11086 Document #: 199-1
                                201-1 Filed: 07/31/20
                                             08/04/20 Page 69
                                                           62 of 73
                                                                 66 PageID #:1372
                                                                           #:1473
Case: 1:16-cv-11086 Document #: 199-1
                                201-1 Filed: 07/31/20
                                             08/04/20 Page 70
                                                           63 of 73
                                                                 66 PageID #:1373
                                                                           #:1474
Case: 1:16-cv-11086 Document #: 199-1
                                201-1 Filed: 07/31/20
                                             08/04/20 Page 71
                                                           64 of 73
                                                                 66 PageID #:1374
                                                                           #:1475
Case: 1:16-cv-11086 Document #: 199-1
                                201-1 Filed: 07/31/20
                                             08/04/20 Page 72
                                                           65 of 73
                                                                 66 PageID #:1375
                                                                           #:1476
Case: 1:16-cv-11086 Document #: 199-1
                                201-1 Filed: 07/31/20
                                             08/04/20 Page 73
                                                           66 of 73
                                                                 66 PageID #:1376
                                                                           #:1477
